             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      :      Criminal No. 1:21-CR-00026
                                              :
v.                                            :      (Judge Conner)
                                              :
ROHAN LYTTLE                                  :      (Electronically Filed)

     MOTION FOR REVIEW AND REVOCAITON OF DETENTION ORDER

         AND NOW, comes the defendant, Rohan Lyttle, by his attorneys Andrew S.

Rendeiro and Christopher Wright, and files this Motion for Review and Revocation of

Detention Order, and in support thereof avers as follows:

1.       On January 25, 2021, a criminal complaint was filed against Rohan Lyttle

charging him Conspiracy to Commit Mail and Wire Fraud in violation of 18 U.S.C.

§1349.

2.       On January 28, 2021, Mr. Lyttle was arrested at his home in the Laurelton section

of Queens, New York and subsequently detained by Hon. Cheryl L. Pollak in the Eastern

District of New York awaiting extradition to the Middle District of Pennsylvania. Mr.

Lyttle’s co-defendant, Caron Pitter, was released on January 28, 2021, on

$125,000 personal recognizance bond.

3.       On February 17, 2021, Rohan Lyttle was charged in three counts on the instant

indictment with conspiracy to commit wire and mail fraud in violation of 18 U.S.C.

§1349 (Count 1); mail fraud in violation of 18 U.S.C. §1341 (Count 5) and wire fraud in

violation of 18 U.S.C. §1343 (Count 6).

4.       On March 31, 2021, Rohan Lyttle appeared before the Honorable Martin C.

Carlson; he entered a plea of not guilty to the indictment and he was ordered detained.

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5.      At that time, Mr. Lyttle did not contest detention and reserved the right to

challenge detention at a later proceeding.

6.      Trial is scheduled for August 2, 2021.

7.      Mr. Lyttle is not a flight risk nor is he a danger to the community.

8.      Mr. Lyttle is a 45-year-old native of Jamaica who has legally resided in the

United States since 2001. See Pretrial Services Report (PSR)1. Although, he is not a

United States citizen, Mr. Lyttle has legal permanent resident status. Id. As a condition

of his release Mr. Lyttle consents to the surrender of his Jamaican passport. 2

9.      Mr. Lyttle has resided in New York City throughout his time in the United States

and for the last twelve years he has resided at the same address in Laurelton, Queens,

NY. Id.

10.     Mr. Lyttle has a significant number of close family and friends in the New York

City area. Id.

11.     Mr. Lyttle is a successful businessman in Queens, NY and for the last 8 years he

has been co-owner of an auto-body business providing a comfortable living for himself

and his family. Id.

12.     Pretrial Services confirmed that Mr. Lyttle has no criminal history. Id.

13.     Significantly, Pretrial Services recommends that Mr. Lyttle be released on a

moderate unsecured bond, co-signed by a financially responsible surety along with a

number of other conditions. Id. All of those conditions are acceptable to Mr. Lyttle.

14.     The present denial of bail deprives Mr. Lyttle of his right to unhampered



1See attached Pretrial Services Report dated January 28, 2021.
2On information and belief Mr. Lyttle’s Jamaican passport was confiscated by law
enforcement when he was arrested. If it was not, he is willing to surrender the passport.

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preparation for his defense.

15.    His present detention during the COVID-19 lockdown obviates his right to

counsel, as the jail restrictions make attorney consultations all but impossible.

16.    The present conditions of his confinement punish Mr. Lyttle in the absence of a

conviction and obliterates his presumption of innocence.

17.    There are conditions of release, as outlined by Pretrial Services, that will

reasonably assure Mr. Lyttle’s appearance.

18.       Assistant United States Attorney Ravi R. Sharma, Esq., does not concur in this

motion.

       WHEREFORE, for the foregoing reasons, the defendant, Rohan Lyttle,

respectfully requests that the Court grant a hearing on the matter and after said hearing,

grant his motion and release him pending disposition in this case under any conditions

that the Court may deem just and appropriate.

Date: May 17, 2021

                                                                    Respectfully submitted,

                                                                   /s/ Andrew S. Rendeiro
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                         CERTIFICATE OF SERVICE
We, Andrew S. Rendeiro and Christopher Wright, do hereby certify that I served a copy

of the foregoing Motion for Review and Revocation of Detention Order, via

Electronic Case Filing and electronic mail.

Date: May 17, 2021

                                                               Respectfully submitted,

                                                               /s/ Andrew S. Rendeiro
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